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 7   ABS Capital I Inc. Trust 2006-HE7, Mortgage Pass-Through Certificates, Series 2006-HE7

 8                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 9
10    DEUTSCHE BANK NATIONAL TRUST                     Case No.: 2:21-cv-01854-GMN-DJA
      COMPANY, AS TRUSTEE FOR MORGAN
11    STANLEY ABS CAPITAL I INC. TRUST
      2006-HE7, MORTGAGE PASS-THROUGH                  STIPULATION AND ORDER TO
12    CERTIFICATES, SERIES 2006-HE7,                   EXTEND TIME TO FILE REPLY IN
13                                                     SUPPORT OF DEUTSCHE BANK’S
                            Plaintiff,                 MOTION FOR REMAND [ECF No. 7]
14           vs.
                                                       (FIRST REQUEST)
15    CHICAGO TITLE INSURANCE
      COMPANY, AS SUCCESSOR-IN-
16
      INTEREST TO TICOR TITLE INSURANCE
17    COMPANY; FIDELITY NATIONAL TITLE
      GROUP, INC.; TICOR TITLE INSURANCE
18    COMPANY OF NEVADA; DOE
      INDIVIDUALS I through X; and ROE
19
      CORPORATIONS XI through XX, inclusive,
20
                            Defendants.
21
22          Pending before the Court is Plaintiff, Deutsche Bank National Trust Company, as Trustee

23   for Morgan Stanley ABS Capital I Inc. Trust 2006-HE7, Mortgage Pass-Through Certificates,

24   Series 2006-HE7’s (“Deutsche Bank”) Motion for Remand (ECF No. 7) filed on November 5,

25   2021. Defendant, Chicago Title Insurance Company (“Chicago Title”) filed its Opposition on

26   November 19, 2021 (ECF No. 8). Deutsche Bank’s reply is currently due on November 29, 2021.

27   Deutsche Bank requests a brief, one-week extension for its reply deadline in order to review and

28   respond to the points and authorities cited to in Chicago Title’s Opposition. Chicago Title does




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 1   not oppose the request for an extension. Accordingly, the Parties stipulate and agree to a one-
 2   week extension of time for Deutsche Bank’s Reply through and including December 6, 2021.
 3          IT IS SO STIPULATED.
 4     DATED this 29th day of November, 2021.           DATED this 29th day of November, 2021.
 5     WRIGHT, FINLAY & ZAK, LLP                        SINCLAIR BRAUN LLP
 6
       /s/ Lindsay D. Dragon, Esq.                      /s/ Kevin Sinclair, Esq.
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10     National Trust Company, as Trustee for           Insurance Company, as successor-in-
       Morgan Stanley ABS Capital I Inc. Trust          interest to Ticor Title Insurance
11     2006-HE7, Mortgage Pass-Through                  Company; Fidelity National Title Group,
12     Certificates, Series 2006-HE7                    Inc.; and Ticor Title Insurance Company
                                                        of Nevada
13
14
15
16                                           IT IS SO ORDERED.
17
                                             Dated this ____
                                                         29 day of November, 2021.
18
19
20                                           ___________________________
                                             Gloria M. Navarro, District Judge
21                                           UNITED STATES DISTRICT COURT
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